Case 4:20-cv-00957-SDJ            Document 808-1 Filed 02/20/25             Page 1 of 2 PageID #:
                                            59539



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                         Plaintiffs,                  Case No. 4:20-cv-00957-SDJ

 v.                                                   Hon. Sean D. Jordan

 Google LLC,
                                                      Special Master: David T. Moran
                         Defendants.


                         [PROPOSED] ORDER AMENDING ORDER
                         APPOINTING SPECIAL MASTER (Dkt. 213)

         On January 26, 2024, the Court appointed Mr. David T. Moran to serve as Special Master

and he has faithfully carried out the duties assigned to him. At the January 29, 2025 status

conference, the States proposed expanding Special Master Moran’s duties to include pretrial

matters. The States followed that suggestion with a Motion to Amend Order Appointing Special

Master. Pursuant to Federal Rule of Civil Procedure 53(b)(4), Google was provided a chance to

be heard on whether expanding Special Master Moran’s duties is appropriate. The Court has

carefully considered the parties’ filings and finds that given the expected volume and complexity

of the remaining pretrial issues, they “cannot be effectively and timely addressed by an available

district judge or magistrate judge of the district.” Fed. R. Civ. P. 53(a)(1)(C).

         IT IS THEREFORE ORDERED that the Order Appointing Special Master (Dkt. 213) is

AMENDED as follows:

Section III.A. is amended by

      1. Striking the word “and” after “discovery conferences and motions;” in paragraph iv;

      2. Striking the period after “may be entered by the Court” and inserting in its place a

         semicolon in paragraph v;


                                                  1
Case 4:20-cv-00957-SDJ        Document 808-1 Filed 02/20/25               Page 2 of 2 PageID #:
                                        59540



  3. Inserting the following after “may be entered by the Court;” in paragraph v:

     “vi.    rule on objections to deposition designations;

     vii.    rule on the reliability of summary exhibits;

     viii.   rule on any objections to the admissibility of exhibits; and

      ix.    rule on other pre-trial issues or disputes relating to the parties’ witness and exhibit

             lists, such as whether materials that may be confidential may be shown.”; and

  4. Striking the phrase “14 days” and inserting in its place “7 days” in the paragraph beginning

     “Pursuant to Rule 53(f)(2).”



  IT IS SO ORDERED.




                                               2
